Filed 8/21/24 Dept. of the Cal. Highway Patrol v. Superior Court CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                     (Sacramento)
                                                            ----



 DEPARTMENT OF THE CALIFORNIA                                                                  C100504
 HIGHWAY PATROL,
                                                                               (Super. Ct. No. 23WM000002)
                    Petitioner,

           v.

 THE SUPERIOR COURT OF SACRAMENTO
 COUNTY,

                    Respondent;

 MARIO SENCION,

                    Real Party in Interest.



         Petitioner Department of the California Highway Patrol (CHP) brings a petition
for writ of mandate and request for stay challenging respondent Superior Court of
Sacramento County’s order denying CHP’s motion to transfer venue. CHP contends
transfer is mandatory under relevant statutory and case law authority. We agree. We will




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issue a peremptory writ of mandate ordering respondent superior court to vacate its order
and issue a new order granting the motion.
                   FACTUAL AND PROCEDURAL BACKGROUND
       In mid-2023, real party in interest Mario Sencion filed, in respondent superior
court, a petition for writ of mandate under Code of Civil Procedure1 section 1094.5
challenging the decision of the State Personnel Board (Board) sustaining his dismissal as
a highway patrol officer.
       CHP thereafter moved to transfer venue to Los Angeles County. Supporting its
motion, CHP cited Lynch v. Superior Court (1970) 7 Cal.App.3d 929, 930-931 (Lynch).
In Lynch, a writ was granted after the superior court refused to transfer venue. (Id. at
pp. 930, 932-933.) The Lynch court explained that venue lies at the employee’s “place of
employment or center of operation” when he or she was dismissed. (Ibid.)
       Sencion opposed the motion, arguing Sacramento County is the proper venue
because both the Board and CHP are located in Sacramento and the cause arose in
Sacramento.
       Respondent superior court denied the motion. It explained that, while venue
transfer is mandatory when the wrong court is designated in the complaint, the
presumption is the county where the complaint is filed is the proper one and the moving
party bears the burden of proving otherwise. Respondent court concluded that CHP had
not met its burden because it failed to address the different context in which Lynch was
decided. CHP also offered no admissible evidence, according to respondent court,
showing Sencion worked in Los Angeles County, nor did Sencion’s petition allege as
much. And even assuming Sencion worked in Los Angeles, CHP is headquartered in




1      Undesignated statutory references are to the Code of Civil Procedure.

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Sacramento County, and CHP offered no evidence as to where the decision to dismiss
Sencion was approved.
        CHP challenged the denial of its motion by filing this petition for writ of mandate
in this court. Sencion filed a preliminary opposition arguing respondent court’s ruling
was correct.
        This court stayed all proceedings and issued a suggestive Palma order that cited
the reasoning of Lynch, provided respondent superior court with an opportunity to change
its ruling, and notified the parties that this court was considering issuing a peremptory
writ in the first instance pursuant to Palma v. U.S. Industrial Fasteners, Inc. (1984)
36 Cal.3d 171. (See Brown, Winfield &amp; Canzoneri, Inc. v. Superior Court (2010)
47 Cal.4th 1233, 1250.)
        After respondent superior court informed this court that it had taken no action and
did not plan to take further action, we invited the parties to provide any further opposition
or reply to the petition. Sencion filed a response stating that he is not opposed to the
issuance of a peremptory writ of mandate ordering the matter transferred to Los Angeles
County Superior Court.
        As we explain, because Los Angeles County is the proper venue, we will issue the
writ.
                                       DISCUSSION
        Because the underlying mandamus action seeks judicial review of an
administrative decision pursuant to section 1094.5, venue is governed by section 393.
(Sutter Union High School Dist. v. Superior Court (1983) 140 Cal.App.3d 795, 797;
Lynch, supra, 7 Cal.App.3d at pp. 930-931; Duval v. Contractors State License Board
(1954) 125 Cal.App.2d 532, 535.) Section 393 states in pertinent part that “the county in
which the cause, or some part of the cause, arose, is the proper county for the trial.”
        The “cause” is the employee’s cause against the discharging agency. (Lynch,
supra, 7 Cal.App.3d at pp. 931-932.) Concomitantly, the critical locus is the employee’s

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place of employment when he or she was dismissed—not the agency’s location where it
made the determination to dismiss him or her—as explained in Lynch. (Ibid.)
       Lynch involved a former Department of Justice employee who brought a petition
for writ of mandate in Santa Cruz County Superior Court, challenging the Board’s
affirmance of his dismissal. (Lynch, supra, 7 Cal.App.3d at p. 930.) After a motion to
transfer venue to San Francisco County was denied, a petition for writ of mandate was
filed in the Court of Appeal. (Ibid.) The Court of Appeal granted the writ, concluding
San Francisco was the proper venue. (Id. at pp. 932-933.)
       The Lynch court explained that “venue is determined by [the employee’s] place of
employment or center of operation at the time of his [or her] dismissal since that is where
the state’s action interfered with his [or her] activities.” (Lynch, supra, 7 Cal.App.3d at
p. 932.) It reasoned that in mandate proceedings involving a challenge to an
administrative agency’s action interfering with a petitioner’s ability to conduct business,
venue is determined by the affected person’s business address: “the county in which . . .
he [or she] would be hurt by the enforcement of the order.” (Ibid., citing Cecil v.
Superior Court (1943) 59 Cal.App.2d 793, 799 [venue for action challenging revocation
of a milk distributor license was in the county where the milk distributor carried out its
business and not where the licensing department was located]; Duval v. Contractors State
License Board, supra, 125 Cal.App.2d at pp. 532, 535-536 [same for challenge to
revocation of contractor’s license].) “ ‘It is where the shaft strikes him [or her], not
where it is drawn, that counts.’ ” (Lynch, at p. 932, quoting Cecil, at p. 799.) So too,
where the cause of the complaint is the department’s removal of the employee, venue is
determined by the employee’s place of employment when dismissed. (Lynch, at p. 932.)
       As applied here, Los Angeles County is the proper venue. Sencion was stationed
in Los Angeles when CHP dismissed him. While respondent superior court found no
evidence that Sencion worked in Los Angeles, Sencion’s petition, filed in the superior
court, incorporates by reference the Board’s decision upholding dismissal, which in turn

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found that “[a]t all times relevant” Sencion was assigned to the East Los Angeles area
office. Sencion never challenged that finding. (See Mission Imports, Inc. v. Superior
Court (1982) 31 Cal.3d 921, 929, fn. 7 [if not controverted, verified complaint may be
considered for factual content in ruling on motion to change venue].)
        Respondent court also wrote that CHP had failed to discuss the different context in
which Lynch was decided and provided no evidence as to where the decision to dismiss
Sencion was made. But as Lynch makes clear, venue lies where the employee worked,
and neither the location of the employer’s headquarters nor where the decision to
discharge was made have any bearing on venue. (Lynch, supra, 7 Cal.App.3d at pp. 931-
932.)
        For these reasons respondent court erred in refusing to transfer venue. We will
issue a peremptory writ.




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                                      DISPOSITION
       Having complied with the procedural requirements for issuance of a peremptory
writ in the first instance, we are authorized to issue the writ forthwith and without oral
argument. (See Brown, Winfield &amp; Canzoneri, Inc. v. Superior Court, supra, 47 Cal.4th
at pp. 1243-1244; Palma v. U.S. Industrial Fasteners, Inc., supra, 36 Cal.3d 171.) Let a
peremptory writ of mandate issue directing respondent superior court to vacate its
February 2, 2024 order denying the motion to transfer venue, and to enter a new order
granting the motion. Upon finality of this opinion, the stay issued by this court on
April 5, 2024, shall be vacated. The parties shall bear their own costs. (Cal. Rules of
Court, rule 8.493(a)(1)(B).)




                                                  /s/
                                                  ROBIE, Acting P. J.



We concur:



/s/
KRAUSE, J.



/s/
MESIWALA, J.




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